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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


ANDREW H. WARREN,

         Plaintiff,

v.                                                    Case No. 4:22cv302-RH-MAF

RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida


         Defendant.



                UNOPPOSED MOTION BY FORMER
          PROSECUTORS, ATTORNEYS GENERAL, JUDGES,
       UNITED STATES ATTORNEYS AND FEDERAL OFFICIALS,
     AND CURRENT AND FORMER LAW ENFORCEMENT OFFICIALS
      AND LEADERS FOR LEAVE TO FILE AMICUS CURIAE BRIEF
         Amici curiae, former prosecutors, Attorneys General, judges, United States

Attorneys and federal officials, and current and former law enforcement officials

and leaders (collectively, “Movants” 1), respectfully move this Court for leave to file

an amicus brief, a copy of which is attached hereto, in support of Plaintiff Andrew

H. Warren’s Motion for Preliminary Injunction and any future dispositive motions




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    A full list of Amici is attached as Appendix A to the proposed amicus brief.
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that may be filed in this case. As explained below, Movants have significant

knowledge and expertise relevant to the subject matter of this litigation that will aid

the Court’s consideration.

                             MEMORANDUM OF LAW

      District courts have inherent authority to allow amici to assist in a proceeding.

See, e.g., Bayshore Ford Trucks Sales, Inc. v. Ford Motor Co., 471 F.3d 1233, 1249

n.34 (11th Cir. 2006) (“[D]istrict courts possess the inherent authority to appoint

‘friends of the court’ to assist in their proceedings.”); Order Granting Leave to File

Amicus Brief, Fla. Wildlife Fed’n, Inc. v. Jackson, No. 4:08-cv-324-RH/WCS (N.D.

Fla. Nov. 10, 2009), ECF No. 134 (Hinkle, J.); United States v. Florida, No. 4:12-

cv-285-RH/CAS, 2012 WL 13034013, at *3 (N.D. Fla. Nov. 6, 2012) (Hinkle, J.).

      Because an amicus “participates only for the benefit of the court, it is solely

within the discretion of the court to determine the fact, extent, and manner of

participation by the amicus.” Resort Timeshare Resales, Inc. v. Stuart, 764 F. Supp.

1495, 1500-01 (S.D. Fla. 1991) (citation omitted). Courts have found amicus

participation particularly appropriate where the amicus “will ensure complete and

plenary presentation of difficult issues so that the court may reach a proper decision”

or where a case involves an “issue of general public interest[.]” Liberty Res., Inc. v.

Phila. Hous. Auth., 395 F. Supp. 2d 206, 209 (E.D. Pa. 2005) (internal citations and

quotations omitted).


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      Although the Federal Rules of Civil Procedure do not address amicus briefing,

Rule 37.2(a) of the Rules of the Supreme Court of the United States and Rule

29(a)(2) of the Federal Rules of Appellate Procedure both provide for the filing of

amicus briefs where, as here, all parties have consented.

      Movants are former prosecutors, Attorneys General, judges, United States

Attorneys and federal officials, and current and former law enforcement officials

and leaders who are committed to protecting the integrity of our justice system.

Prosecutorial independence and discretion are foundational tenets of our legal

system that underpin every prosecutor’s ability to pursue justice on behalf of the

local community.     Voters elect these leaders based on their ideals around the

administration of justice and their views on public safety. Consequently, elected

prosecutors must be afforded the opportunity to be transparent about how they would

seek to manage the limited resources available to them in accordance with the

priorities they have set. Here, Governor DeSantis’s suspension of 13th Judicial

Circuit State Attorney Andrew Warren undermines prosecutorial autonomy and

strips the community of its chosen elected official.

      The potential chilling effect of Governor DeSantis’ order on elected

prosecutors in Florida and throughout the nation who seek to carry out their jobs

with transparency presents issues of national importance. Allowing governors to

disregard the autonomy and independence of prosecutors upsets the careful balance


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of roles and responsibilities delegated to local as well as state actors by state

constitutions, while politicizing our justice system and eroding public confidence in

the integrity of the election process. Thus, Movants have a strong interest in the

proper functioning of our justice system that may be affected by the decision in this

case.

        Movants’ brief addresses arguments that Plaintiff’s brief does not cover, and

does so from a broader local as well as national perspective than the parties can

provide.    Movants bring extensive experience in the judicial, legal and law

enforcement arena and have a deep understanding of the important role that

prosecutorial discretion plays in the criminal justice system. Because the issues this

case raises have national significance, Movants come not only from Florida, but also

from jurisdictions across the country. Although Movants’ views on particular policy

choices may differ, Movants come together in the steadfast belief that deciding

where and how to use limited resources to promote public safety, serving as a leader

on criminal justice issues, and protecting the constitutional rights of those in their

community is the essence of the job of an elected prosecutor.

        In the amicus brief accompanying this motion, Movants discuss the well-

settled principles of prosecutorial discretion, the ways in which State Attorney

Warren’s public statements and presumptive policy guidance were part of his duty

as a minister of justice and not a dereliction of that duty, and the rights of voters to


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the elected representative of their choice. Movants seek to offer the diverse and

expert perspective of numerous respected former prosecutors, Attorneys General,

judges, United States Attorneys and federal officials, and current and former law

enforcement officials and leaders from around the country who bring to the mix

many decades of experience—a perspective that is currently absent from, but critical

to, this litigation. Consideration of Movants’ submission will help to ensure the

“complete and plenary presentation of difficult issues,” especially the broader

potential impact of any ruling by this Court. Liberty Res., 395 F. Supp. 2d at 209.

      Further, the amicus brief is timely and provides all parties to this action ample

opportunity to respond to the information proffered by Movants. 2

                                  CONCLUSION

      For the foregoing reasons, Movants respectfully request that this Court permit

them to appear as amici curiae and allow them to file the attached amicus brief.




2
  The parties’ joint schedule proposes a deadline of September 2, 2022 for Defendant
to respond to Plaintiff’s motion for preliminary injunction and file any motion to
dismiss the complaint. ECF No. 10. While Movants do not believe the Court has
acted yet on the proposed schedule, this brief is being filed a week in advance of the
proposed response date to allow ample time for its consideration by Defendant.

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Dated:    August 26, 2022
                                  Respectfully submitted,

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                       LOCAL RULE 7.1 CERTIFICATE

      Counsel for amici hereby certify that they have conferred with counsel for

Plaintiff, Andrew H. Warren, and Defendant, Ron DeSantis, and both parties have

consented to the relief requested in this motion.

      I further certify that the foregoing motion and supporting memorandum

contain 959 words, excluding the items listed in Local Rule 7.1(F).

                                        By: /s/ Jeffrey W. Warren
                                               Attorney
                          CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of August, 2022, I electronically filed the

foregoing document with the Clerk of the United States District Court for the Northern

District of Florida through the CM/ECF system, which will serve a true and correct

copy on all counsel of record who have consented to electronic service.

                                        By: /s/ Jeffrey W. Warren
                                               Attorney




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